Case 2:04-Cr-20135-BBD Document 70 Filed 06/17/05 Page 1 of 2 Pag
FII£D BY __ _,

 
  

IN THE UNITED sTA'rEs DISTRICT coURT 85 `
FoR THE wEsTERN I)ISTRICT oF TENNESSEE JUN l 7 PH 3= 3 l

Western
nearest n oz memo
`Sléiias<,_o.s. elsr. CT.
. ' "" )' ~-'-
UNITED STATES oF AMERICA, ' ' C'{“ ”"' P"£MFH*S
Plaintiff,
vs. Case No. 2:04cr20135-D
Yusuf Abdulzitz

 

ORDER REFUNDING CASH APPEARANCE BOND

 

'I'his matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $2,000.00,
payable to Abdulbasit Mussa at 2171 W. River Trace Dr. # 2, Memphis, TN 38134 in full refund of the

cash appearance bond posted herein.

 

erniee B. Donald

Date:CV/}»n__/ /Z adolf

Approve .
. Di Trolio, Clerk of Court

    

Tt\ls document entered on the docket she t|n co p!iance /' 7
with Hu|e 55 and/or 32(b) FRCrP on fQ”QQ Q 0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:04-CR-20135 Was distributed by faX, mail, or direct printing on
J unc 20, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Sidney L. Moore

LAW OFFICE OF SIDNEY L. MOORE
One Park ToWer

34 Peachtreet St NW Ste 2560

Atlanta, GA 30303

Honorable Bernice Donald
US DISTRICT COURT

